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Name and Prisoner/Booking Number t }

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UNITED STATES DISTRICT COURT
FOR THE DI! STRICT OF HAWAII

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UNITED STATES DISTRICT COURT
- DISTRICT OF HAWAII

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ull Some of Plaintiff) (To be supplied by the Clerk)
‘ \ vs. PRISONER CIVIL RIGHTS COMPLAINT :
WARD Val WAenT ima
MAvALL waite fete Tian ¢ Ate, b odetna Complaint
/ o First Amended Complaint

O Second Amended Complaint

(Full Names of Defendants; DO NOT USE et al. )
A. JURISDICTION
1. Jurisdiction is invoked pursuant to:

a. r4ausc. § 1343(a)(3) ; 42 U.S.C. § 1983

b. 0 28 U.S.C. § 1331; Bivens v. Six Unknown Federal Narcotics Agents, 403 U.S. 388 (1971)

c. O Other: (Please Sonat)

ff 2 t } f a i > /
2. Plaintiff: _ ( by YO-tp PA ye Jay Xe, \ AL
;

Institution/city where violation occurred: _/¢ Wie f Cy

3. First Defendant *: Ne ft WAGH ISpmpA

i )
This defendant is a citizen of (state and county) L—/ } Wwe L Ais)
and is employed as: - “3
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(osition and Title) (Institution)

1

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~ ‘This defendant is sued in his/her ___ individual *_ Y official capacity (check one or both). Explain how
Case 1:20-tv-00551-JAO-RT Document 1 Filed 12/11/20 Page 2 of 7 PagelD.45

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this defendant was acting under color of law:
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3 ¥ we

. 0 _. “PVA . co 1 col
A, Second Defendant: | “U2; Comm Lelia VTK

This defendant is a citizen of (state and county) __ | Vue
Kee) , and is employed as:
} t oh. ‘ lec, V4
(wy { | | \ ait is 4

(Position and Title) (ustitution) *

This defendant is sued inhis/her___ individual v official capacity (check one or both). Explain how
this defendant was acting under color of law:

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LD) bird Keay yb ADA ALCANODAT IOV >

é Pty ¥ f

.5. Third Defendant:

This defendant is a citizen of (state and county)
, and is employed as:

: at
(Position and Title) (institution)

This defendant is sued in his/her __ individual official capacity (check one or both). Explain how
this defendant was acting under color of law: _

*

(Lf you would like to name additional defendants, make a copy of this (blank) page and provide the necessary information.)

* A defendant may be named in an individual orofficial capacity, or both. To sue a defendant in their individual

capacity, you must be able to state facts showing that the defendant was actually involved in violating your tights. A suit
against a defendant in their official capacity is in reality a suit against the office or position the defendant holds. Only
injunctive relief is available in an official capacity suit against a state official. This is because the Eleventh Amendment
confers immunity upon the state or its officials against monetary damages resulting from federal court litigation.

“Color of law” refers to whether the person is a private party or an employee, official, or agent of a state, county,
city, or the federal government. There can be no civil rights action under § 1983 unless the defendant was “acting under color
of law.” After the color of law requirement is met, then it must be determined in which capacity the defendant is being sued.
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B, PREVIOUS LAWSUITS
. . ~
1. Have you brought any other lawsuits while a prisoner: CO Yes No
2. If your answer is yes, how many?: Describe the lawsuit in the spaces below.

3. First previous lawsuit:

a. Plaintiff

Defendants

b. Court and Case Number (if federal court, identify the district; if state court, identify the
county):

c. Claims raised:

d. Disposition (For example: Was the case dismissed? Was it appealed? Is it still pending?)

rid.

\V |

e. Approximate date of filing lawsuit

f. Approximate date of disposition

4, Second previous lawsuit: -

a. Plaintiff

‘A |
Defendants |.

b. Court and Case Number (if federal coutt, identify the district; if'state court, identify the

county):

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\
c. Claims raised: \

d. Disposition (For example: Was the case dismissed? Was it appealed? Is it still pending?)

8; Approximate date of filing lawsuit

f. Approximate date of disposition

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5. Third previous lawsuit:

a.

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Plaintiff ‘Vi
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t |

Defendants

Court and Case Number (if federal court, identify the district; if state sourt, identify the
county):

scape aed . fo fe
Claims raised: i ii

Disposition (For example: Was the case dismissed? Was it appealed? Is it still pending?)
1 \

Approximate date of filmg lawsuit

i\ |
Approximate date of disposition i t

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‘ 4
(if you have filed more than three lawsuits, make a copy of this (blank) page and provide the necessary information.)

6.

Have you filed any actions in federal court that were dismissed because they were fri¥olous,
malicious, or failed to state a claim upon which relief could be granted? __-_ “Yes_ No.

If you have had three or more previous federal actions dismissed for any of the reasons
stated above, you may not bring another civil action in forma pauperis unless you are under
imminent danger of serious physical injury. See 28 U.S.C. § 1915(¢).
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C, CAUSE OF ACTION

COUNT I

* t
1. The following constitutional or other federal civil right has been violated by the Defendant(s): _ ,
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- i

2. Count I involves: (Check only one; if your claim involves more than one issue, each issue should be
stated in a different count) LIMail [_] Access to the court [IMedical care

C1 Disciplinary proceedings Clroperty LI Exercise of religion ClRetaliation

L Excessive force by an officer Crhreat to safety Mother: A DA Ly ARILTY LAE HTS

3. Supporting Facts: (State as briefly as possible the FACTS supporting Count I, without citing legal
authority or arguments. Describe exactly what each Defendant did or did not do to violate your rights.)

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A. Injury: (State how you have been injured by Defendant(s)’ actions or inactions.

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Case 1:20‘cv-00551-JAO-RT Document1 Filed 12/11/20 Page 6of7 PagelD.49

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COUNT II .

1. .\ The following constiution ° fi other federal gal right has been violated by the Persone
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fe . | . LL ;
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2. Count II involves: (Check only one; if your claim involves more than one issue, each issue should
be stated in a different count) ail [_] Access to the court [IMedical care

LC] Disciplinary proceedings Property L] Bxercise of religion [_TRetaliation

[| Excessive force by an officer [TThreat to safety Cother: rf

3. Supporting Facts:(State as briefly as possible the FACTS supporting Count II, without citing legal
authority or arguments. Describe exactly what each Defendant did or did not do to violate your rights.)

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A, Injury: (State how you have been injured by Defendant(s)’ actions or inactions.

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D. REQUEST FOR RELIEF

State briefly exactly what you want the Court to do for you. Make no legal arguments. Cite no cases or statutes.

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| f. J |

I understand that a false statement or answer to any question in this complaint will subject me to
penalties of perjury. 1 DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE
UNITED STATES OF AMERICA THAT THE FOREGOING IS TRUE AND CORRECT. See 28
U.S.C. § 1746 and 18 U.S.C. §1621. ~~

Signed this 2t| day of 1 LAVEMHE <  , ZDLEX
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ef / (Signatare of Plaintiff)
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ADDITIONAL PAGES

All questions must be answered concisely in the proper space on the form. .Ifneeded, you may attach no
more than fifteen (15) additional pages. Number these pages in relation to the final page number of the
section that is being extended (i.e. additional defendants’ pages should be numbered “2A, 2B, etc.,”
additional previous lawsuits’ pages “4.A, 4B, etc.,” additional claims should be numbered “7A, 7B, etc.”
This form, however, must be completely filled in to the extent applicable.
